          Case 1:17-cv-01191-LTB-NRN Document 122 Filed 12/04/19 USDC
   127(,7,6<2855(63216,%,/,7<726(77+(7,0(,17+(/2:(55,*+7&251(52)7+,6)250   Colorado Page 1 of 2
                                                                                            &+226($1<78(6'$<:('1(6'$<25
7+856'$<$725$0 )25$33($5$1&(%()25(7+(&/(5.)257$;$7,21


$2 5HY %LOORI&RVWV
86'&&ROR9HUVLRQ± 5HY  
                                                                               BILL OF COSTS
                                                                                            DISTRICT
                     United States District Court                                                                          DISTRICT OF COLORADO
                                                                                            DOCKET NO.
ELLIS WILLIAMS                                                                                              17-cv-01191-LTB-NRN
  v.
                                                                                            MAGISTRATE CASE NO.
UNITED/CONTINENTAL
           Judgment having been entered in the above entitled action on     November 20, 2019
           against                                                                                        the clerk is requested to tax the following as costs:
                                                                               BILL OF COSTS
           Fees of the clerk                                                                                                                               $                       0.00


           Fees for service of summons and complaint                                                                                                       $                       0.00


           Fees of the court reporter for all or any part of the transcript necessarily obtained for use in the case                                       $                  10,798.73



           Fees and disbursements for printing                                                                                                             $                   3,243.35


           Fees for witnesses (itemized on reverse side)                                                                                                   $                       0.00


           Fees for exemplification and copies of papers necessarily obtained for use in the case                                                          $                       0.00


           Docket fees under 28 U.S.C. § 1923                                                                                                              $                       0.00


           Costs incident to taking of depositions                                                                                                         $                    241.48


           Costs as shown on Mandate of Court of Appeals                                                                                                   $                       0.00


           Other costs (Please itemize)                                                                                                                    $                    212.64




           3OHDVHUHYLHZDQGFRPSO\ZLWK'&&2/2/&LY5

           (See Notice section on reverse side)
                                                                                                                            TOTAL             $                           14,496.20
                                                                             DECLARATION
              I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the services for which fees
           have been charged were actually and necessarily performed. A copy hereof was this day mailed with postage fully prepaid thereon to:

           Signature of Attorney        s/ David C. Gartenberg
           Print Name                                                                              Phone Number
                         David C. Gartenberg                                                                          303.629.6200

           For:           Defendant United Airlines, Inc.                                          Date               December 4, 2019
                         Name of Claiming Party

Please take notice that I will appear before the Clerk who will tax said costs
on the following day and time: January 9, 2020 at 8:30 a.m. MT                                     Date and Time         January 9, 2020 8:30 a.m.
                                                                                                   Amount Taxed $
Costs are hereby taxed in the following amount and included in the judgment:
                                                                                                   (BY) DEPUTY CLERK

CLERK OF COURT                                                                                     DATE:
JEFFREY P. COLWELL
   Case 1:17-cv-01191-LTB-NRN Document 122 Filed 12/04/19 USDC Colorado Page 2 of 2
86'&&ROR9HUVLRQ 5HY 
$2 5HY %LOORI&RVWV


                                        UNITED STATES DISTRICT COURT
                 Witness Fees (VHH28 U.S.C. 1821 for statutory feesDQGZZZJVDJRYIRUORFDOLW\SHUGLHPUDWHV)
                                                                          ATTENDANCE            SUBSISTENCE             MILEAGE
                                                                                                                                                Total Cost
           NAME , CITY AND STATE OF RESIDENCE                                        Total                 Total                 Total         Each Witness
                                                                          Days       Cost       Days       Cost       Miles      Cost


                                                                                                                                                         $0.00



                                                                                                                                                          $0.00



                                                                                                                                                          $0.00



                                                                                                                                                         $0.00



                                                                                                                                                          $0.00


                                                                                                                                                          $0.00


                                                                                                                           TOTAL                         $0.00

                                                                     127,&(
6HFWLRQ7LWOH86&RGHSURYLGHV

$MXGJHRUFOHUNRIDQ\FRXUWRIWKH8QLWHG6WDWHVPD\WD[DVFRVWVWKHIROORZLQJ

  )HHVRIWKHFOHUNDQGPDUVKDO
  )HHVIRUSULQWHGRUHOHFWURQLFDOO\UHFRUGHGWUDQVFULSWVQHFHVVDULO\REWDLQHGIRUXVHLQWKHFDVH
  )HHVDQGGLVEXUVHPHQWVIRUSULQWLQJDQGZLWQHVVHV
  )HHVIRUH[HPSOLILFDWLRQDQGWKHFRVWVRIPDNLQJFRSLHVRIDQ\PDWHULDOVZKHUHWKHFRSLHVDUHQHFHVVDULO\REWDLQHGIRUXVHLQWKHFDVH
  'RFNHWIHHVXQGHUVHFWLRQRIWKLVWLWOH
  &RPSHQVDWLRQRIFRXUWDSSRLQWHGH[SHUWVFRPSHQVDWLRQRILQWHUSUHWHUVDQGVDODULHVIHHVH[SHQVHVDQGFRVWVRIVSHFLDOLQWHUSUHWDWLRQ
VHUYLFHVXQGHUVHFWLRQRIWKLVWLWOH

$ELOORIFRVWVVKDOOEHILOHGLQWKHFDVHDQGXSRQDOORZDQFHLQFOXGHGLQWKHMXGJPHQWRUGHFUHH

6HHDOVR6HF9HULILFDWLRQRIELOORIFRVWV>DQGNHHSLQPLQGWKHHTXLYDOHQWHIIHFWRIGHFODUDWLRQVXQGHU86&@

%HIRUHDQ\ELOORIFRVWVLVWD[HGWKHSDUW\FODLPLQJDQ\LWHPRIFRVWRUGLVEXUVHPHQWVKDOODWWDFKWKHUHWRDQDIILGDYLWPDGHE\KLPVHOIRUE\KLVGXO\
DXWKRUL]HGDWWRUQH\RUDJHQWKDYLQJNQRZOHGJHRIWKHIDFWVWKDWVXFKLWHPLVFRUUHFWDQGKDVEHHQQHFHVVDULO\LQFXUUHGLQWKHFDVHDQGWKDWWKH
VHUYLFHVIRUZKLFKIHHVKDYHEHHQFKDUJHGZHUHDFWXDOO\DQGQHFHVVDULO\SHUIRUPHG

7KH)HGHUDO5XOHVRI&LYLO3URFHGXUHSURYLGHVDVIROORZVUHJDUGLQJFRVWV

5XOH G  8QOHVVDIHGHUDOVWDWXWHWKHVHUXOHVRUDFRXUWRUGHUSURYLGHVRWKHUZLVHFRVWVRWKHUWKDQDWWRUQH\ VIHHVVKRXOGEHDOORZHG
WRWKHSUHYDLOLQJSDUW\%XWFRVWVDJDLQVWWKH8QLWHG6WDWHVLWVRIILFHUVDQGLWVDJHQFLHVPD\EHLPSRVHGRQO\WRWKHH[WHQWDOORZHGE\ODZ7KHFOHUN
PD\WD[FRVWVRQGD\V QRWLFH2QPRWLRQVHUYHGZLWKLQWKHQH[WGD\VWKHFRXUWPD\UHYLHZWKHFOHUN VDFWLRQ

'&&2/2/&LY57D[DWLRQRI&RVWV
    (DFKMXGJPHQWRUILQDORUGHUVKDOOLQGLFDWHDQ\SDUW\HQWLWOHGWRFRVWV8QOHVVRWKHUZLVHRUGHUHGWKHFOHUNVKDOOWD[FRVWVLQIDYRURIDSUHYDLOLQJ
SDUW\RUSDUWLHV$ELOORIFRVWVVKDOOEHILOHGRQWKHIRUPSURYLGHGE\WKHFRXUWZLWKLQGD\VDIWHUHQWU\RIWKHMXGJPHQWRUILQDORUGHU$IWHUILOLQJDELOO
RIFRVWVDQGSULRUWRDSSHDULQJEHIRUHWKHFOHUNFRXQVHODQGDQ\XQUHSUHVHQWHGSDUW\VHHNLQJFRVWVVKDOOILOHDZULWWHQVWDWHPHQWWKDWWKH\KDYH
FRQIHUUHGDVWRGLVSXWHVUHJDUGLQJFRVWV,IDOOGLVSXWHVDUHUHVROYHGDVWLSXODWLRQVSHFLI\LQJFRVWVVKDOOEHILOHGZLWKWKHFRXUW
